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                    Exhibit 8
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                                               Liberty Square Building
                                               450 5th Street, N.W.
                                               Washington, DC 20530


                                                June 11, 2024

Via Electronic Mail

Lauren E. Battaglia, Esq.
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               Re: U.S. v. ASSA ABLOY AB, et al., Case No. 1:22-cv-02791-ACR

Dear Lauren:

The Department of Justice is in receipt of your letter dated June 3, 2024. We are
disappointed with ASSA ABLOY’s refusal to further engage in discussions with the
Monitoring Trustee on a path forward. Nonetheless, we identify below the DOJ’s
position on the disputes between ASSA ABLOY and the Monitoring Trustee and if
necessary, we too are prepared to bring these issues to the attention of the Court.

ASSA ABLOY’S Refusal to Pay the Monitor as Required by the Settlement
Agreement is a Breach of the Final Judgment

We are surprised ASSA ABLOY responded and rejected further discussion even before
receiving the estimated projections from the Monitoring Trustee on June 7 as identified in
our recent correspondence. We have reviewed the Monitoring Trustee’s timelines and
cost estimates and believe they provide ASSA ABLOY with a detailed insight into the
anticipated work for competitive intensity and should facilitate further discussion
between ASSA ABLOY and the Monitoring Trustee. Indeed, a review of the materials
submitted by the Monitoring Trustee on June 7 shows a substantial reduction in the pace
of work on competitive intensity in 2025 through Q1 of 2026.

ASSA ABLOY appears to have escalated its objections beyond the competitive intensity
work and belatedly expanded its objections to now include all compliance work
completed by the Monitoring Trustee. From the meet and confer on May 28, DOJ
understood ASSA ABLOY’s objections were limited to work performed pursuant to
Section IV of the Final Judgment (competitive intensity). ASSA ABLOY’s objections to
the Monitoring Trustee’s work related to compliance are a significant departure and
change in substance and tone from the meet and confer on May 28. The Monitoring
Trustee is tasked with assessing ASSA ABLOY’s compliance with the Final Judgment.
See Section X.B of the Final Judgment. DOJ understands that the Monitoring Trustee has
been useful in resolving disputes between ASSA ABLOY and Fortune as to what is
required under the Final Judgment. And, at the request of DOJ, the Monitoring Trustee
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investigated whether Fortune had gained “operational control” of the Vietnam facility
when delayed approvals from the Vietnamese government prohibited ASSA ABLOY
from fully divesting to the facility to Fortune by December 31, 2023, as required by
Section VI.C of the Final Judgment. These actions, as well as other work performed by
the Monitoring Trustee, are the core work of monitoring the agreement that is
contemplated by the Final Judgment.

DOJ’s position remains that ASSA ABLOY is responsible for paying all outstanding
invoices to the Monitoring Trustee in full. As explained in our letter of May 31, 2024,
Section X.C of the Final Judgment limits ASSA ABLOY’s ability to object to actions
taken by the Monitor to grounds of “malfeasance” and requires that ASSA ABLOY raise
malfeasance objections “within 10 calendar days”; ASSA ABLOY’s current refusal to
pay the Monitor’s invoices is neither permissible nor timely under the plain terms of the
Final Judgment. ASSA ABLOY’s failure to pay any portion of the outstanding invoices –
and raising tardy objections to excuse all payment – is very concerning. Throughout this
monitorship, DOJ has consulted with the Monitoring Trustee about the need to engage in
compliance-related workstreams to fulfill the Monitor’s responsibilities under the Final
Judgment. It is the DOJ’s view that actions taken by the Monitoring Trustee to date are
reasonable interpretations of its responsibilities under the Final Judgment. As a result,
ASSA ABLOY’s unilateral refusal to pay the Monitor’s invoices represent a breach of
the Final Judgment.

The Final Judgment Requires Present Day Competitive Intensity Analysis

DOJ does not agree with ASSA ABLOY’s interpretation of Section IV of the Final
Judgment regarding competitive intensity. Section IV of the Final judgment provides, in
full:

              If, after three years following the Divestiture Date and until
       the date that is five years from entry of this Final Judgment, the
       monitoring trustee determines, after investigation and consultation
       with the United States, ASSA ABLOY and Acquirer, that:

              a. Acquirer’s competitive intensity in the residential Smart
                 Locks business has diminished relative to ASSA
                 ABLOY’s competitive intensity in that business as of the
                 Divestiture Date; and

              b. Such diminishment in competitive intensity is in material
                 part due to limitations on Acquirer’s right to use the rights
                 held by ASSA ABLOY to the Yale brand name or
                 trademarks in the U.S. and Canada as of the Divestiture
                 Date, then

       the monitoring trustee may, after consultation with the United States, provide a
       written report of the monitoring trustee’s conclusions to the United States.

This section requires the Monitoring Trustee to conduct an investigation regarding
Fortune Brands’ competitive intensity relative to ASSA ABLOY’s pre-transaction
competitive intensity for smart locks and make a determination as to whether that
competitive intensity has decreased. While the Final Judgment provides a time period in
which the Monitoring Trustee is to make her determination and issue a report, the
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language in this section does not limit this investigation to begin only after three years
following the Divestiture Date, June 20, 2026.

Additionally, establishing a competitive baseline and understanding how competition in
the industry evolves over time, activities of competitors, product changes and
innovations, and consumer preferences are all relevant to investigating competitive
intensity. In DOJ’s view, the Monitoring Trustee’s interpretation of its responsibilities
under Section IV are reasonable. Indeed, public reports of price increases by ASSA
ABLOY 1 only underscore the need to understand the reasons for changing market
dynamics, a process best conducted in real-time with fresh information, rather than as a
retrospective many years into the future.

If ASSA ABLOY continues to refuse payment of the outstanding invoices, we are
available to discuss procedures for bringing these items to the attention of the Court.


Sincerely,

/s/ Miranda Isaacs

Miranda Isaacs
Trial Attorney
U.S. Department of Justice, Antitrust Division


cc:     Melinda Coolidge
        mcoolidge@hausfeld.com




1
 See https://www.morningstar.com/news/dow-jones/202404241962/assa-abloy-cost-cuts-and-price-hikes-
help-offset-challenging-market (last visited 6/5/2024).
